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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA   :
                           :                        CASE NO. 21-CR-721-CKK
        v.                 :
                           :
HOWARD CHARLES RICHARDSON, :
                           :
             Defendant.    :

                                    NOTICE OF FILING

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court the government has filed United States’s Opposition

To Defendant’s Motion For Bail. We request that Exhibit 1, attached hereto and listed below, be

made part of the record in this case and linked with Docket Entry 17:

   1. Exhibit 1 – FBI Investigation Agent Schreier-BWC of Naticchione.mp4 video


                                            Respectfully submitted,
                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            DC Bar No. 481052

                                            /s/ Emily W. Allen
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